             Case 4:03-cr-40034-JPG                      Document 337 Filed 02/25/10                  Page 1 of 2            Page ID
 ~AO 2450    (Rev. 12/07) Judgment in a Criminal Case for Revocations #454
             Sheet I



                                   UNITED STATES DISTRICT COURT
                                                     Southern District of Illinois

          UNITED STATES OF AMERICA                                    Judgment in a Criminal Case
                     v.                                               (For Revocation of Probation or Supervised Release)
             TRAVIS DANE HARGETT
                                                                                                                                ~
                                                                      Case No. 4:03CR40034-JPG-2             "'o"(~ ~ ~~<>
                                                                      USM No. 05869-025                        u,>-,y;.t U
                                                                                                                      "r1- .~
                                                                                                                                <'.fc3
                                                                       Judith Kuenneke, AFPD                          6'~1~/.5';>{S'>- ~
THE DEFENDANT:
~ admitted guilt to violation of condition(s)      _a_s_a_lI_e.:::g_e_d_b_e_lo_w
                                                                              _ _ _ _ _ of the term of supervision.
o   was found in violation of condition(s)         _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                            Violation Ended
Special                       The defendant consumed alcohol, marijuana & Xanax while                       12/31/2006

                              emrolled ina program for substance. abuse treatment




       The defendant is sentenced as provided in pages 2 through _--=2=--_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notifY the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 2566                   02/19/2010

Defendant's Year of Birth:       1979

City and State of Defendant's Residence:
Fenton, Missouri
                                                                       J. Phil Gilbert                                District Judge
                                                                                              Name and Title of Judge
               Case 4:03-cr-40034-JPG                       Document 337 Filed 02/25/10           Page 2 of 2            Page ID
  AO 2450      (Rev. 12/07) Judgment in a Criminal Case for Revocations #455
               Sheet 2- Imprisonment

                                                                                               Judgment -   Page _..;;;;2_ of      2
  DEFENDANT: TRAVIS DANE HARGETT
  CASE NUMBER: 4:03CR40034-JPG-2


                                                          IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
14 months




       tI The court makes the following recommendations to the Bureau of Prisons:
That the defendant be placed in Anger Management Counseling.




       tI The defendant is remanded to the custody of the United States Marshal.
       o The defendant shall surrender to the United States Marshal for this district:
         o at ___________________ 0 a.m. o p.m. on
         o as notified by the United States Marshal.
       o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before 2 p.m. on
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                                RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                  to

  at   ____________________ with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                      By ____~~~~~~~~~~~~~------
                                                                                         DEPUTY UNITED STATES MARSHAL
